8:07-cr-00150-RFR-FG3   Doc # 65   Filed: 03/07/08   Page 1 of 1 - Page ID # 142


               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:07CR150
                              )
          v.                  )
                              )
DEAUNDRE BRADLEY,             )                      ORDER
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on defendant’s motion

to continue (Filing No. 64).       The Court finds said motion should

be granted.   Accordingly,

          IT IS ORDERED that sentencing in this matter is

rescheduled for:

                Friday, March 28, 2008, at 9:30 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.

          DATED this 7th day of March, 2008.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _________________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
